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     TIFFANY BURTON, an individual; and Case No.: 2:17-cv-03358-DDP (GJSx)
11 CHARLES BURTON, an individual,

12
                Plaintiffs,             District Judge: Hon. Dean D. Pregerson
13

14        vs.
15 NUTRIBULLET, L.L.C., a California
                                        ORDER RE: STIPULATION
16 Limited Liability Company, CAPITAL
     BRANDS, L.L.C., a California Limited OF DISMISSAL
17   Liability Company, HOMELAND
18   HOUSEWARES, L.L.C., a California
     Limited Liability Company, CALL TO
19   ACTION, L.L.C., a California Limited
20   Liability Company, NUTRILIVING,
     L.L.C., and DOES 1 through 10,
21
     inclusive,
22                 Defendants.
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                       ORDER RE: STIPULATION OF DISMISSAL
 Case 2:17-cv-03358-DDP-GJS Document 154 Filed 11/02/21 Page 2 of 2 Page ID #:1084



             Pursuant to the stipulation of the parties under Federal Rule of Civil
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     Procedure 41(a)(1)(ii), it is ordered that this action be, and hereby is, dismissed
 2
     with prejudice as to all claims, causes of action, and parties, with each party
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     bearing that party’s own attorney’s fees and costs. The clerk is directed to close the
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     file.
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 6
           November 2
 7 Dated: ______________, 2021                      __________________________
 8
                                                    Judge Dean D. Pregerson
                                                    United States District Court Judge
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                      PROPOSED ORDER RE: STIPULATION OF DISMISSAL
